              Case 2:08-cr-00427-MCE Document 322 Filed 05/17/11 Page 1 of 2


 1 KYLE R. KNAPP
   Attorney at Law
 2 California State Bar No. 166597
   1120 D Street, Suite 100
 3 Sacramento, CA 95814
   Telephone: (916) 441-4717
 4

 5 Attorney for Zoya Belov

 6

 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                       )   CASE NO. CR 2:08-427 - MCE
                                                   )
11                                 Plaintiff,      )
                                                   )
12                                                 )
     v.                                            )
13                                                 )   STIPULATION AND ORDER TO
                                                   )   CONTINUE STATUS CONFERENCE,
14 ZOYA BELOV,                                     )   AND TO EXCLUDE TIME PURSUANT
                                                   )   TO THE SPEEDY TRIAL ACT
15                                 Defendant.      )
                                                   )
16 __________________________________              )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Phil Ferrari, Assistant United States Attorney, attorney for plaintiff; Jean Hobler, Assistant

20 United States Attorney, attorney for plaintiff; and Kyle Knapp, attorney for defendant, ZOYA BELOV,

21 that the previously scheduled status conference date of May 12, 2011, be vacated and the matter set for

22 entry of plea on May 19, 2011.

23          This continuance is requested to allow counsel additional time to review discovery with the

24 defendant, to examine possible defenses and to fully evaluate and explain to my client the currently

25 tendered plea agreement.

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              Case 2:08-cr-00427-MCE Document 322 Filed 05/17/11 Page 2 of 2


 1         Accordingly, counsel and the defendant agree that time under the Speedy Trial Act from the date

 2 this stipulation is lodged, through May 19, 2011, should be excluded in computing time within which trial

 3 must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)7(A) and B(iv), and Local

 4 Code T4[reasonable time for defense counsel to prepare].

 5 Dated: May 10, 2011                                         Respectfully submitted.

 6
                                                                 /s/ Kyle R. Knapp
 7                                                             Kyle R. Knapp
                                                               Attorney for Defendant, Zoya Belov
 8

 9 Dated: May 10, 2011                                         Respectfully submitted.

10
                                                                 /s/ Phil Ferrari
11                                                             Phil Ferrari
                                                               Assistant U.S. Attorney
12                                                             Attorney for Plaintiff

13 Dated: May 10, 2011                                         Respectfully submitted.

14
                                                                 /s/ Jean M. Hobler
15                                                             Jean M. Hobler
                                                               Assistant U.S. Attorney
16                                                             Attorney for Plaintiff

17

18                                                  ORDER

19         IT IS HEREBY ORDERED that the previously-scheduled status conference date of May 12, 2011,

20 be vacated and the matter set for change of plea on May 19, 2011. Time is excluded in the interests of

21 justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local CodeT4.

22
     Dated: May 16, 2011
23
                                                    ________________________________
24                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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                                                        2                                    11CR069-JAM
